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' ' /_.& D.
|N THE UN|TED STATES DlSTR|CT COURT mfg BY c.
FOR THE WESTERN D|STR|CT OF TENNESSE ' _
WESTERN D|VlS|ON Eos JUL 7 sz: 28

 

UN|TED STATES OF AMER|CA CLEQ§)\§)?' §?T‘?§CM
P|aintiff
VS.
CR. NO. 05-20134-D
RUSSELL JAMES WARREN
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Thursdag¢l August 25, 2005l at 9:00 a.m., in Courtg)om 3, 9th F|oor of
the Federa| Bui|ding, |V|emphis, TN.

 

The period from July 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

rr ls so oRoERED this (Q'*‘\ day of July, 2005.

BE§§]CE B. D§NALD

UN|TED STATES D|STR|CT JUDGE

   

This document entered on the docket sheet `

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Honorable Bernice Donald
US DISTRICT COURT

